          Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 1 of 22




                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                        Plaintiff,

                v.                                                    Case No. 21-cr-28 (APM)

JAMES BEEKS,

                        Defendant.



       REPLY IN SUPPORT OF MOTION TO DISMISS COUNTS FIVE AND SEVEN
                  OF THE SEVENTH SUPERSEDING INDICTMENT


         James Beeks moved to dismiss Counts Five and Seven of the Seventh Superseding

Indictment for failure to allege an offense. 1 As outlined in that motion, he explained that Count

Five proceeded on a theory that was not legally viable—the Vice President cannot “temporarily

visit” the U.S. Capitol within the meaning of 18 U.S.C. § 1752(a)(1), (c)(1)(B). And he argued

that Count Seven failed to allege an essential element of 18 U.S.C. § 231(a)(3), because it contains

no allegations of fact that, if true, would support the existence of a cognizable “civil disorder.”

         The Government’s opposition changes nothing. As explained at greater length below, the

Government tries to avoid the deficiencies in the indictment by twisting the statutory language of

§ 1752 to fit its theory of the case and ignoring that liability under § 231(a)(3) depends on

particularized facts that must be (but are not) alleged. As a fallback position, it proffers facts not

alleged in the indictment. None of the Government’s arguments salvages Count Five or Count

Seven.


1
    Beeks’s Mot. to Dismiss, ECF No. 638 [hereinafter “Mot.”].
                                                                       FEDERAL DEFENDER SERVICES
                                                                                OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 2 of 22




I.     As a preliminary matter, this Court cannot consider new, unalleged facts when
       assessing whether Count Five or Count Seven adequately alleges an offense.

       The Government’s response invites the Court to consider facts not alleged in the

indictment, but that is not permitted. With respect to Count Five, the Government asserts in its

opposition—but not in the indictment—that “two other Secret Service-protectees (members of the

Vice President’s immediate family), also came to the U.S. Capitol that day for a particular purpose:

to observe these proceedings.” Gov’t’s Opp., ECF No. 645 [hereinafter “Opp.”], at 6. And with

respect to Count Seven, the Government now asserts that the “federally protected functions”

adversely affected by the “civil disorder” were the U.S. Capitol Police’s protection of the Capitol

building and grounds, generally, as well as the Secret Service’s protection of the Vice President

and his family. Id. at 14–15. It also asserts for the first time that the “civil disorder” affected

commerce because it caused the mayor of the District of Columbia to impose a curfew that had an

immediate effect on businesses and a longer-term effect on shipment patterns. Id. at 15. And it

identifies the law enforcement officers that Mr. Beeks purportedly obstructed as members of the

Metropolitan Police Department. Id. at 14. But these allegations appear nowhere in the Seventh

Superseding Indictment, and this Court “is limited to reviewing the face of the indictment, and

more specifically, the language used to charge the crimes.” United States v. Sunia, 643 F. Supp.

2d 51, 60 (D.D.C. 2009) (emphases in original) (internal quotation marks omitted). Accordingly,

these new factual allegations cannot be considered when resolving Mr. Beeks’s motion to dismiss.

II.    The Government’s arguments do not render Count Five sufficiently pleaded.

       In its opening brief, the defense established that whether Count Five alleges a violation of

18 U.S.C. § 1752(a)(1) rises and falls on a question of law: Can the Vice President “temporarily

visit[]” the U.S. Capitol, where she has a permanent office to which she routinely commutes to

perform her constitutional duties? The defense submits that the answer is: No, she cannot. The

                                                 2
                                                                      FEDERAL DEFENDER SERVICES
                                                                               OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 3 of 22




ordinary person would not understand “temporarily visiting” to include the act of going to and

from one’s own workplace, as the Vice President does when commuting to and from her standing

office at the Capitol. What’s more, permitting the definition of “temporarily visiting” to turn on

the frequency with which any particular Vice President uses her office in the Capitol creates a fair

notice problem, as it tethers the breadth of the statute to personal predilections—a moving target

about which the ordinary person could only guess. And, if the phrase is ambiguous, then principles

of lenity and constitutional avoidance counsel in favor of construing it more narrowly, in favor of

Mr. Beeks.

        In response, the Government defends Count Five based on a strained theory of synonyms.

It posits that “temporarily visiting” really means “physically present,” which, it says, makes § 1752

a comprehensive coverage provision—an area becomes “restricted” (and criminal liability

attaches) wherever the Vice President goes outside the White House or his residence. See Opp. at

5–6. It buttresses that distortion of the plain text with a quick pivot to purposivism and the threat

of (what it deems to be) absurd results. See id. at 7–9. Along the way, the Government offers no

response to the concerns that Mr. Beeks raises concerning fair notice. And it impermissibly invites

the Court to consider facts not alleged in the indictment. Id. at 6–7.

        As set out below, none of the Government’s arguments saves Count Five. The Government

has twisted the meaning of “temporarily visiting” to create a “mere presence” requirement, and

that simply is not what Congress wrote. The Government’s resort to statutory purpose and policy

cannot displace the plain text of the statute. In the end, it is for Congress to decide if the plain text

leaves the statute incomplete. Finally, although the Government offers new allegations and calls

on new cases that have touched on this issue, neither should persuade this Court that Count Five

may stand.


                                                   3
                                                                         FEDERAL DEFENDER SERVICES
                                                                                  OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 4 of 22




       A.      The Government’s plain text argument falls flat: “temporarily visiting” does
               not mean “physically present,” even when the statute is read as a whole.

       1.      The Government purports to begin with the plain text of § 1752, but it does so with

blue pencil in hand. It broadly interprets “temporarily visiting” to require only that the Secret

Service-protectee be “physically present” in a particular location. Opp. at 5. The Government is

not reserved about the switch in syntax on which its argument rests. Rather, throughout its brief,

it emphasizes Vice President Pence’s “physical presence” in the Capitol as the defining feature of

Count Five. See id. at 6 (“Because Vice President Pence was physically present . . . , the U.S.

Capitol was automatically designated . . .” (alteration adopted and internal quotation marks

omitted)); id. (“Given the presence of the Vice President, the U.S. Capitol plainly qualified . . .”);

id. at 7 (subsections of § 1752(c)(1) should be read to “encompass the locations where the protectee

is, or will be, physically present”). And it emphasizes that this is consistent with the statutory text,

because it reads § 1752(c)(1)(B) to “define[] the restricted area by reference to the location of the

protectee—not his office.” Id. at 6; accord id. at 8 (statute should be read “to protect[] the President

and Vice President in their official homes and wherever else they go”).

       But that is not what Congress wrote. As the court in United States v. McHugh cautioned:

“interpreters should heed the language of the statute and be wary of reading ‘temporarily visiting’

to mean, in effect, ‘physically present.’” Criminal Action No. 21-453 (JDB), 2022 WL 296304, at

*22 (D.D.C. Feb. 1, 2022). Instead, “someone is ‘temporarily visiting’ a location if they have gone

there for a particular purpose, be it business, pleasure or sight-seeing, and for a limited time, which

could be brief or extended while nonetheless remaining temporary”—but a person does not

“temporarily visit” his or her own workplace. Cf. at *20 (internal quotation marks omitted); see

also Mot. at 12. The Government reduces the statutory text to a “mere presence” requirement—

precisely what McHugh warned against.

                                                   4
                                                                         FEDERAL DEFENDER SERVICES
                                                                                  OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 5 of 22




       The Government also makes no effort to explain why the ordinary person would read

“temporarily visiting” to mean being “physically present” at one’s office. Reading it that way

bypasses the Supreme Court’s recent reminder that statutory language must be evaluated by “how

an ordinary person (a reporter; a police officer; yes, even a lawyer) might describe [the usage]—

and how she would not.” Wooden v. United States, 595 U.S. ___, ___, 142 S. Ct. 1063, 1069 (2022)

(emphasis added). Dictionary definitions “are not dispositive.” Yates v. United States, 574 U.S.

528, 538 (2015). Thus, while it is theoretically possible that “temporarily visiting” might

encompass going to and from one’s ordinary workplace, that possibility is not controlling. Instead,

the phrase must be read as the ordinary person would use it; and the ordinary person would not say

that she “temporarily visit[s]” her own office. Instead, she would say that “she goes to work.” 2

       2.      The Government looks to the statute’s structure to support its position (Opp. at 7,

8–9), but reading § 1752(c) as a whole does not counsel in favor of the Government’s proposed

interpretation. The Government claims that reading § 1752(c)(1)(A) and (B) together makes clear

that the statute “encompass[es] the areas where a protectee lives, works, and temporarily visits.”

Opp. at 7. In other words, the Government submits, § 1752(c)(1) should be read to afford

comprehensive coverage to the Vice President, no matter where she is at any given moment. Id. at

8 (reading those sections “together protects the President and Vice President in their official homes

and wherever else they go”).




2
  The Government makes much of one sentence in the defense’s motion that used the words
“traveled to” and “visited” to describe the Vice President being at the Capitol building. Opp. at 5.
But even the Supreme Court sometimes is profligate in its use of important terms. See Arbaugh v.
Y&H Corp., 546 U.S. 500, 510 (2006) (“This Court, no less than other courts, has sometimes been
profligate in its use of the term [‘jurisdiction’].”) So, too, was the defense profligate in its use of
those words in that one sentence.
                                                  5
                                                                        FEDERAL DEFENDER SERVICES
                                                                                 OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 6 of 22




       The trouble with the Government’s conclusion is that it does not comport with the statute’s

structure. In defining “restricted buildings or grounds,” Congress did not pen a catch-all provision;

rather, it defined that term through discrete, enumerated spaces or occasions. It picked three:

            •   the White House, Vice President’s official residence, and their grounds;

            •   places where the President or a Secret Service-protectee “is or will be temporarily
                visiting”; and

            •   places restricted in connection with a specially designated event.

See 18 U.S.C. § 1752(c)(1). The Government’s analysis ignores altogether the third bullet point,

subsection (C), which has nothing to do with the Vice President. If Congress had wanted to provide

comprehensive coverage, then there would be no need to list out categories of designated areas.

Cf. Mem. Op. & Order, ECF No. 596, at 3 (explaining that § 1512(c) contains a “catch-all”

provision, while § 1512(a), (b), and (d) “contain a finite list of proscribed ways in which to violate

the statute”). Instead, Congress would have used the very language that the Government uses in

its brief—“wherever else they go” or are “physically present.” Congress knows how to write a

catch-all clause. And § 1752(c)(1)(B) isn’t one.

       3.       Ultimately, the Government asks this Court to follow the approach in McHugh

without addressing any of the faults the defense highlighted in McHugh’s analysis. It encourages

this Court to conclude that, even if the ordinary person understands that one does not “temporarily

visit[]” his own workplace, Count Five should stand because “the U.S. Capitol is not the Vice

President’s regular workplace.” Opp. at 7 (emphasis added) (citing McHugh, 2022 WL 296304,

at *22). But it offers no explanation for how the ordinary person could discern a “regular

workplace” from an “irregular” one. Compare Mot. at 15–16, 19, with Opp. at 7. Meanwhile, when

arguing this very issue before Judge Nichols, the Government recognized the potential for

“difficult line drawing in terms of when – at what point someone has temporarily visited” a

                                                   6
                                                                       FEDERAL DEFENDER SERVICES
                                                                                OF WISCONSIN, INC.
         Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 7 of 22




workplace. Tr. of Argument, Feb. 28, 2022, United States v. Fischer, No. 21-cr-234 (D.D.C.)

[hereinafter “Fischer Tr.”], ECF No. 74, at 25; see also id. at 21. 3 But here the Government offers

no solutions; it relegates its response to a two-sentence footnote that does not address the argument.

Opp. at 9 n.1.

         B.      The Government’s reading of § 1752 elevates the statute’s purpose over its
                 ordinary meaning.

         The Government defends its strained reading of the statute with a misguided emphasis on

the statute’s purpose and a policy interest in protecting the Vice President. Of course, neither point

can overcome the statute’s plain text. And, in any event, the Government’s argument is without

merit.

         1.      The Government asserts that Congress must have intended its reading of the statute

because a general protectionist purpose motivated its enactment. It notes that, “[i]n drafting Section

1752, Congress sought to protect ‘not merely the safety of one man but also the ability of the

executive branch to function in an orderly fashion and the capacity of the United States to respond

to threats and crises affecting the entire free world.’” Opp. at 8 (quoting United States v. Caputo,

201 F. Supp. 3d 65, 70 (D.D.C. 2016)). And it highlights that, over time, Congress has effectuated

that purpose by “broaden[ing] the scope of the statute and the potential for liability.” Id. at 9

(quoting United States v. Griffin, 549 F. Supp. 3d 49, 56 (D.D.C. 2021) (emphasis omitted)).

Therefore, the Government reasons, the statute’s purpose justifies reading § 1752(c)(1)(B)

broadly—so broadly as to transform “temporarily visiting” into a mere-presence requirement. See

Opp. at 8–9.



3
  The Fischer transcript currently is available only through the courthouse’s public terminal or by
submitting an order to the court reporter. Out of respect for the court reporter, the defense has not
attached it as an exhibit to this motion. Undersigned counsel can e-mail it to the Court, if necessary.
                                                  7
                                                                        FEDERAL DEFENDER SERVICES
                                                                                 OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 8 of 22




       But neither case the Government cites supports its conclusion. The language the

Government plucks from Caputo is inapposite. It arises in the context of a facial constitutional

challenge to § 1752(a)(1) by a defendant who claimed that vaulting over the White House fence

was protected by the First Amendment. See Caputo, 201 F. Supp. 3d at 70. The court concluded

that § 1752(a)(1), defined through subsection (c)(1)(A), was a reasonable and content-neutral

regulation of a nonpublic forum. Id. Whatever legislative purpose may have motivated subsection

(c)(1)(A) says little, if anything, about the legislative purpose behind subsection (c)(1)(B)—the

subsection at issue here. Nor is Griffin of greater help. Although that court noted the general

“direction of Congress’s legislative march,” it concluded that “[n]ot much” could be gleaned from

§ 1752’s statutory history. Griffin, 549 F. Supp. 3d at 56. And it made both statements in the

context of determining whether the statute requires the Secret Service (specifically) to cordon off

an area—not in the course of interpreting “temporarily visiting.” See id. at 55–56. To the extent

§ 1752’s motivating purpose can be discerned at all, then, it does not clearly support the

Government’s reading. And neither Caputo nor Griffin supports its argument.

       2.      The Government also stresses that the defense’s reading threatens Congress’s

policy interest in protecting the Vice President, but that argument proves hyperbolic. See Opp. at

7. It simultaneously overstates the pragmatic effect of the statute’s ordinary meaning and fails to

account for other criminal statutes that serve that very policy interest. Even were the Court to adopt

the defense’s reading of § 1752(c)(1)(B), the Vice President would remain protected under the law

and § 1752 would continue to deter unauthorized access to the Vice President in myriad other

places. Indeed, Judge Nichols recently made this very point at an oral argument on this issue:

               It’s not that he [the Vice President] would be unprotected. It would
               be that this one particular criminal statute might not apply because
               of the unique nature of the vice president in our constitutional
               structure, he may have actually not been temporarily visiting this

                                                  8
                                                                       FEDERAL DEFENDER SERVICES
                                                                                OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 9 of 22




               one particular location. It could be a very sui, sui, sui generis
               situation. It wouldn’t distinguish between the vice president and his
               family anywhere else in the world. It would be only one place in
               Congress where he has this very, very unique role. . . .

               [I]t’s not as if such a holding would all of a sudden say that the
               Secret Service is sort of disabled from protecting the vice president
               vis-à-vis his or her children. Generally, that’s no. It’s only in
               Congress and it’s not even about protection. It’s just whether this
               criminal prohibition would necessarily kick in.

Fischer Tr. at 18, 26 (emphasis added). As Judge Nichols noted, adopting the defense’s reading of

§ 1752(c)(1)(B) does not have far reaching consequences for criminal liability under § 1752(a)(1)

and would not affect the Secret Service’s protection of the Vice President. In fact, § 3056 alone

appears to allow the Secret Service to set up perimeters around the Vice President at any given

time as part of its functions and duties, as well as to make a warrantless arrest (at gunpoint even)

of someone who interferes with their efforts. See 18 U.S.C. § 3056(a)(1), (c)(1)(F), (d). Thus, the

Government overstates the potential harm when it broadly suggests that interpreting

§ 1752(c)(1)(B) based on the ordinary person’s understanding would undermine its ability to

protect the Vice President or its policy goal of “deterring and punishing individuals who seek

unauthorized access to the President’s or Vice President’s location.” Cf. Opp. at 7.

       C.      The defense’s reading does not produce a statutory “gap” or “illogical” results.

       The Government also emphasizes that interpreting the statute as the defense suggests will

create “a gap” and lead to “illogical” results that this Court is bound to avoid. See Opp. at 7, 9.

That is not the case.

       1.      The concern about “gaps” flows from a false premise. The Government asserts that

“a gap” exists under the defense’s view because it reads the statute to provide comprehensive

coverage for Secret Service-protectees “wherever . . . they go.” Id. at 8, 9. As set out above, that

is not the case; the statute covers a discrete list of enumerated places. See supra at 6. Given that,

                                                 9
                                                                       FEDERAL DEFENDER SERVICES
                                                                                OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 10 of 22




the Government’s parade-of-horribles loses its fear factor. The suggestion that coverage under

§ 1752(c)(1)(B) might not extend to every place the Government assumed it would is not horrible.

Cf. Opp. at 7. Instead, it is consistent with the statutory language. Congress enacted a statute that

is not as comprehensive as the Government contends.

        Any “gap” is for Congress to fill in, not this Court. If Congress wanted criminal liability

under § 1752(a)(1) to be triggered by a comprehensive, mere-presence provision for Secret

Service-protectees, it would have said so. This Court’s role is to enforce the text as-written and as

understood by the ordinary person. As the leading tome on statutory interpretation explains, “gap”

is a loaded word that warrants pause:

               What is a gap, anyway? It is not a void of some kind that makes a
               court’s decision logically impossible. Instead, it is the space
               between what the statute provides and what the gap-finding judge
               thinks it should have provided. It is nothing else than the difference
               between the positive law and some other order considered to be
               better, truer, and juster. What has been omitted in the gap invariably
               turns out to be what the judge believes desirable—so gap-filling
               ultimately comes down to the assertion of an inherent judicial power
               to write the law.

ANTONIN SCALIA & BRYAN GARNER, READING LAW 95 (2012) (footnotes and internal quotation

marks omitted). Thus, the Government’s threat of “gaps” is simply an invitation for judicial

legislation.

        2.     The Government also is mistaken in claiming that the defense’s reading produces

absurd results that cannot stand. The D.C. Circuit has described the canon against absurd results

as carrying a “high threshold.” Lovitky v. Trump, 949 F.3d 753, 761 (D.C. Cir. 2020) (cited at Opp.

at 7–8). To be absurd, the “statutory outcome” must “def[y] rationality by rendering a statute

nonsensical or superfluous” or “create[] an outcome so contrary to perceived social values that




                                                 10
                                                                       FEDERAL DEFENDER SERVICES
                                                                                OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 11 of 22




Congress could not have intended it.” Id. at 760. When the court can identify a plausible reason

why Congress may have written the statute the way it did, the statute is not absurd. Id.

        Here, the fact that Congress provided a list of enumerated spaces that triggers liability

under § 1752(a)(1), rather than broad-strokes coverage of anywhere where a Secret Service-

protectee is present, does not meet the absurdity canon’s “high threshold.” Restricting some areas

and not others does not render the statute irrational or any provision superfluous. The Government

identifies no “social values” with which a more limited reading of § 1752(c)(1)(B) is in conflict.

And there are plausible reasons why Congress may have written the statute as it did. For example,

Congress may have been exercising restraint in identifying those spaces that qualify as “restricted

areas” so as to strike a balance between First Amendment rights and the compelling interest in

ensuring the safety of a Secret Service-protectee. See Lovitky, 949 F.3d at 760–61 (defendant’s

reading of Ethics Act was not “absurd” where there was a “plausible reason[] why Congress may

have written the statute to not forbid, or at least allow, inclusion of liabilities that are not required

to be disclosed”). Thus, applying the test from the D.C. Circuit case the Government cites, the

defense’s reading of the statute is not so “absurd” as to be rejected.

        D.      The two courts that have ruled on this issue in recent weeks have not grappled
                with the problems to which Mr. Beeks points.

        The Government offers only passing citations to two newer opinions that addressed this

issue since Mr. Beeks filed his motion. Opp. at 4–5, 8 (citing United States v. Puma, Criminal No.

21-0454 (PLF), 2022 WL 823079 (D.D.C. Mar. 19, 2022); United States v. Andries, Criminal No.

21-93 (RC), 2022 WL 768684 (D.D.C. Mar. 14, 2022)). Those cases warrant further discussion,

because their analyses should not sway the Court towards the Government’s position.

        In Puma, the court’s analysis failed to account for the problems to which Mr. Beeks points.

First, the Court defined “temporarily visiting” without meaningfully addressing the ordinary

                                                   11
                                                                          FEDERAL DEFENDER SERVICES
                                                                                   OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 12 of 22




person’s understanding that one does not “temporarily visit[]” her own workplace. See Puma, 2022

WL 823079, at *17. As noted above, though, the Supreme Court has instructed courts to consider

the ordinary person’s understanding of statutory language. See supra at 5 (citing Wooden, 142 S.

Ct. at 1069). Second, the court cited McHugh for the proposition that, even were that the ordinary

person’s understanding, it could not apply to the facts alleged because the Vice President’s office

in Congress is not her “regular workplace.” Puma, 2022 WL 823079, at *18 (quoting McHugh,

2022 WL 296304, at *22). But the court did not explain how the ordinary person would know

when an office qualifies as a “regular workplace.”

       The court’s analysis in Andries proves no more helpful. That court acknowledged the

“intuitive appeal to [the] suggestion that a person does not ‘visit’ a place where he maintains an

office,” and it agreed that it is “awkward to describe an ordinary commute from home to one’s

regular workplace as ‘temporarily visiting’ the office.” Andries, 2022 WL 768684, at *16–17

(alteration adopted) (quoting McHugh, 2022 WL 296304, at *22). But it then treated the dictionary

definition of “visit” as controlling. Id. at *17. The court held that, because the dictionary definition

made it possible to “‘visit’ a location for the business purpose of working and meeting there,” that

definition trumped the ordinary person’s understanding. Id. at *16–17. But this is in tension with

the Supreme Court’s guidance that dictionary definitions “are not dispositive.” See supra at 5

(citing Yates, 574 U.S. at 538). In addition, although suggesting “temporarily visiting” might be

ambiguous because it can be used different ways, the court did not apply the rule of lenity. See

Andries, 2022 WL 768684, at *17. In the alternative, the court in Andries, too, cited McHugh in

concluding that any normally-lives-or-works carve-out applies only to “regular workspace[s]” and,

therefore, could not cut down the charges. Id. (citing McHugh, 2022 WL 296304, at *22). Absent

again, though, was any explanation of how this accords with fair notice.


                                                  12
                                                                         FEDERAL DEFENDER SERVICES
                                                                                  OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 13 of 22




       Accordingly, the analyses in Puma and Andries should not sway this Court. They are in

tension with the Supreme Court’s guidance on interpreting statutes consistent with the ordinary

person’s understanding and without blind adherence to dictionaries. And missing entirely is any

explanation of how a “regular” versus “not regular” distinction among offices is a workable

standard that affords fair notice to the ordinary person. For these reasons, the Court should not be

persuaded by these cases. 4 Count Five must be dismissed.

III.   The Government’s arguments do not render Count Seven sufficiently pleaded.

       Mr. Beeks’s opening brief established that Count Seven does not adequately allege a

violation of 18 U.S.C. § 231(a)(3)—it is missing essential facts that, if true, would identify a

cognizable “civil disorder.” See Fed. R. Crim. P. 7(c)(1). Not all “civil disorders” trigger liability;

instead, only those that affect “the conduct or performance of a federally protected function,”

“commerce,” or “the movement of an article in commerce” qualify. Mot. at 6. Consequently, guilt

turns on a question of particularized facts—whether the “civil disorder” falls within the realm of

§ 231(a)(3). Mot. at 25. And the terms “federally protected function,” “commerce,” and “the

movement of an article or commodity in commerce” are not obvious and unambiguous. They are

defined to encompass numerous potential actors and scenarios. 18 U.S.C. § 232; Mot. at 7–8, 23–

25. By failing to allege essential facts that color-in the statutory boilerplate, Count Seven fails in

two regards: it does not provide Mr. Beeks with notice of the precise offense of which he is accused

so that he can prepare his defense, and it fails to ensure that he will be prosecuted for the same

offense the grand jury indicted. Mot. at 25–27. Thus, it must be dismissed.


4
 The defense is aware of two other courts that already have or soon will issue rulings on this issue.
In United States v. Griffin, in a minute entry and without analysis, the court denied the defense’s
motion for judgment of acquittal based on this argument. See Minute Entry, United States v.
Griffin, No. 21-cr-92 (TNM) (D.D.C. Mar. 22, 2022). Separately, this issue remains pending in
United States v. Fischer, No. 21-cr-234 (CJN) (D.D.C.).
                                                  13
                                                                        FEDERAL DEFENDER SERVICES
                                                                                 OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 14 of 22




       The Government offers a limited response to Mr. Beeks’s argument. It contends that

parroting the text of § 231(a)(3) is sufficient to allege the “civil disorder” element because guilt

does not depend on any particular fact. Opp. at 11. But it does not contest that not all “civil

disorders” trigger liability under this statute. Nor does the Government point to any paragraphs in

the indictment that, if true, would support a finding that the encounter in the hallway between the

Rotunda and Senate chamber was a cognizable “civil disorder.” Instead, it recasts the defense’s

motion as a complaint that the indictment needed to provide additional details about how

Mr. Beeks purportedly contributed to the hallway confrontation. See id. at 12–13. That is not the

argument. As a precautionary measure, the Government attempts to shore up its argument with

facts not alleged in the indictment—which, of course, this Court cannot consider. And those new

allegations in the Government’s brief do not resolve the remaining question of what particular

facts led the grand jury to conclude that (if proven) the elements of the charged offense would be

satisfied with respect to Mr. Beeks.

       In other words, the Government’s response has not altered the litigation landscape. The

notice and presentment problems persist, and each provides a reason to dismiss Count Seven. The

cases the Government cites are not to the contrary. In the alternative, if the Court reads the

indictment adequately to allege a “civil disorder” that negatively affected a “federally protected

function,” then Mr. Beeks respectfully requests that the Court dismiss Count Seven in part.

       A.      Boilerplate is not enough; the indictment needed to allege essential facts
               supporting the “civil disorder” element because guilt depends on those facts.

       The Government mistakenly insists that the statutory boilerplate in Paragraph 112 of the

indictment, standing alone, is sufficient to allege a violation of § 231(a)(3). Opp. at 9. “To be sure,”

and as the Government stresses, “there are certain criminal offenses in which the statutory text is

worded so narrowly that a statement of the elements provides the defendant with sufficient notice

                                                  14
                                                                         FEDERAL DEFENDER SERVICES
                                                                                  OF WISCONSIN, INC.
       Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 15 of 22




of the acts that constitute the specific offense charged against him”; in those cases, parroting the

statute is enough. United States v. Hillie, 227 F. Supp. 3d 57, 74 (D.D.C. 2017). But, at the same

time, “there are also criminal offenses that are broadly worded, and thus ‘must be charged with

greater specificity’ in order to give the defendant sufficient notice of the crime.’” Id. (quoting

United States v. Resendiz-Ponce, 549 U.S. 102, 109 (2007)).

       Section 231(a)(3) falls in the latter camp. Guilt under § 231(a)(3) turns on the identification

of particular facts—specifically, facts that cause the purported “civil disorder” to fall within the

ambit of the statute and make the defendant’s actions prosecutable as a matter of federal law. Put

differently, the nature of the “civil disorder” “is central to every prosecution under the statute.”

See Russell v. United States, 369 U.S. 749, 764 (1962). And the statute defines that “civil disorder”

using terms that capture a wide array of actors and conduct; nearly every type of police officer

may qualify as “law enforcement”; a substantial number of federal actors (or entities) performing

duties under federal law may be engaged in a “federally protected function”; and “commerce” is

defined as itself, occurring across state lines or intrastate. See 18 U.S.C. § 232(2), (3), (7). By

relying on the generic language of the statute, the indictment here leaves Mr. Beeks “to go to trial

with the chief issue undefined”—whether his alleged acts are of the type that this statute even

punishes—and “[i]t gives the prosecution free hand on appeal to fill in the gaps of proof by surmise

or conjecture.” See Russell, 369 U.S. at 766.

       The Government resists applying Russell here (Opp. at 11), but a closer look at that case

supports the defense’s argument. In Russell, the Supreme Court assessed what was required to

state an offense under 2 U.S.C. § 192, which criminalizes a witness’s refusal to answer questions

“pertinent to the question under inquiry” at a congressional hearing. 369 U.S. at 764. Unless the

indictment alleged the essential facts of the subject matter of the hearing (the “question under


                                                 15
                                                                       FEDERAL DEFENDER SERVICES
                                                                                OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 16 of 22




inquiry”), the Court reasoned, the defendant could not know whether her obstructive act (refusing

to answer) was the kind that the statute criminalized. Id. at 764–65. Similarly, § 231(a)(3)

criminalizes a person’s act of obstructing law enforcement engaged during a particular kind of

“civil disorder”—one that affected a “federally protected function,” “commerce,” or “the

movement of an article or commodity in commerce.” Unless the indictment alleges the essential

facts underpinning the “civil disorder,” the defendant cannot know whether his purportedly

obstructive act was the kind that the statute criminalized. Thus, under Russell, in the same way

that simply parroting the language of § 192 is not sufficient to state an offense, simply parroting

the language of § 231(a)(3) is not enough to state an offense. 5

        The cases the Government cites concern other statutes and serve only to underscore the

different language in § 231(a)(3). For example, the Government points to United States v.

Williamson, in which the D.C. Circuit reaffirmed that “parroting the statutory language is ‘often

sufficient,’ [but] that is not invariably so.” 903 F.3d 124, 131 (D.C. Cir. 2018) (cited at Opp. at

11–12). On the facts presented, the court concluded that 18 U.S.C. § 115(a)(1)(B), which

criminalizes threatening a federal official in retaliation for his performance of “official duties,” did

not require the Government to plead essential facts concerning the “official duties” because guilt

did not turn on those specific facts. 903 F.3d at 131. But the court of appeals’ explanation helpfully

underscores the difference between that statute and this one. Section 115, the court explained,

“speaks in terms of a threat made ‘on account of the performance of official duties,’ not to draw

attention to a particular official duty, but instead to assure that the threat generally relates to the



5
  The Government cites one case from another District that reached the opposite conclusion. Opp.
at 13–14 (citing and discussing United States v. Phomma, No. 3:20-cr-465-JO, 2021 WL 4199961,
at *7 (D. Or. Sept. 15, 2021)). The defense notes, however, that that court did not engage in a close
analysis of Russell, and the logic of Russell compels the defense’s position in this case.
                                                  16
                                                                         FEDERAL DEFENDER SERVICES
                                                                                  OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 17 of 22




officer’s performance of official duties rather than to a personal dispute[.]” Id. at 131 (emphasis

added). In contrast, § 231(a)(3) speaks in terms of an obstructive act made against an officer

engaged in relation to a particular kind of “civil disorder” in order to assure that the defendant’s

act relates to that particular kind of “civil disorder.” And this makes sense, because the “civil

disorder” element is what makes § 231(a)(3) a federal offense; it ties purely local conduct to a

federal function or commerce. In contrast, § 115(a)(1)(B)’s reference to “official duties” does not

affect the federal character of the statute, because it reaches a defendant’s threats against only

federal actors. See id. § 115(a)(1)(B) (criminalizing threats against federal officials, judges, law

enforcement, and other employees or officers listed in § 1114).

        Further, the Government is mistaken in suggesting that the D.C. Circuit has rejected an

argument “identical” to the one the defense makes here. Opp. at 12. To the contrary, in United

States v. Verrusio, the D.C. Circuit again reaffirmed the first principles on which Mr. Beeks’s

argument relies. 762 F.3d 1, 13 (citing Russell, 369 U.S. at 763–64). In that case, the defendant

had challenged whether the indictment adequately alleged an “official act.” Id. at 11. In finding

that it had, the court acknowledged that “[n]ot all acts that an official performs” fall within the

statute, but the indictment contained detailed factual allegations that, if true, identified a cognizable

“official act.” Id. at 12, 13–14. The quote the Government pulls into its brief comes from the end

of the court’s discussion, in which it rejected a suggestion that additional facts needed to be

alleged. Id. at 14–15. Mr. Beeks’s challenge asks this Court to determine whether the indictment

adequately alleges facts to support finding a cognizable “civil disorder,” just like the Verrusio

court analyzed whether the indictment adequately alleged facts to support finding a cognizable

“official act.” Thus, rather than foreclose Mr. Beeks’s argument, Verrusio supports it.




                                                   17
                                                                         FEDERAL DEFENDER SERVICES
                                                                                  OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 18 of 22




       It follows that, contrary to the Government’s suggestion, Mr. Beeks has not “conflate[d]

pleading with proof” requirements. Cf. Opp. at 10 (internal quotation marks omitted). When it

comes to § 231(a)(3), guilt “depends so crucially upon” identification of the particular kind of

“civil disorder” that it must be alleged through factual allegations, not statutory boilerplate alone.

See Russell, 369 U.S. at 764. The defense is not asking the Court to make a factual determination

that the government cannot prove a cognizable “civil disorder”; it is asking the Court to conclude

that the indictment does not allege essential facts that, if true, would constitute a cognizable “civil

disorder.” For this reason alone, Count Seven should be dismissed.

       B.      The Government has not pointed to any factual allegations in the indictment
               that ensure it is prosecuting the same offense as the grand jury indicted.

       The Government has not responded to Mr. Beeks’s independent argument that Count

Seven must be dismissed because it violates his right to be tried only upon charges found by a

grand jury. In the absence of any allegations of fact concerning what was the “federally protected

function,” “commerce,” or “movement of an article or commodity in commerce” negatively

affected by the “civil disorder,” it is impossible to know what led the grand jury to conclude that

that element would be satisfied. Mot. at 26. As Hillie explained, “in the absence of a written charge

that includes this factual basis for the grand jury’s probable cause finding, one cannot know with

the requisite degree of certainty that the criminal charges that appear in the indictment are actually

based on the information so presented.” 227 F. Supp. 3d at 77 (emphasis omitted).

       Rather than point to paragraphs that set out the facts on which the grand jury relied when

indicting Mr. Beeks, the Government has backfilled the indictment with a statement of what it

intends to prove at trial. Opp. at 14–15. It asserts two new “federally protected functions”

concerning the Capitol police and Secret Service, and a new theory concerning “commerce” and

“the movement of an article or commodity in commerce” arising from a curfew affecting

                                                  18
                                                                        FEDERAL DEFENDER SERVICES
                                                                                 OF WISCONSIN, INC.
       Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 19 of 22




businesses. Id. Tellingly, the Government does not argue that any of those facts are in the

indictment.

       And, in fact, they do not appear in the indictment. Although the Capitol police are alleged

to have been present at the Capitol, there is no allegation that the hallway encounter (which did

not involve those officers) affected the Capitol police officers’ performance of their duties. There

also is no allegation that the hallway confrontation affected the Secret Service’s protection of the

Vice President. In fact, the words “Secret Service” do not even appear in the indictment. And there

is no allegation concerning any commercial effects flowing from the hallway confrontation, let

alone reference to a curfew or continuing commercial fall-out, days later. Even if the Government

were to represent that the grand jury was told to consider these three theories as the basis for the

indictment and that it had provided the grand jury with proof of the same (a representation it has

not made), that would not be enough. E.g., Hillie, 227 F. Supp. 3d at 77 (rejecting government’s

representations as to what the grand jury “was orally instructed to consider”).

       It follows that the Government’s response serves only to confirm that the indictment runs

afoul of Mr. Beeks’s constitutional rights. In the absence of factual allegations that would make

the “civil disorder” cognizable, the indictment does not assure that Mr. Beeks is being prosecuted

for the same offense that the grand jury indicted. Instead, the Government has supplemented the

boilerplate in the indictment with multiple theories of why it believes the offense is prosecutable.

The situation here matches what the D.C. Circuit has criticized: use of boilerplate language that

gives the Government “a free hand to insert the vital part of the indictment without reference to

the grand jury.” United States v. Nance, 533 F.2d 699, 701 (D.C. Cir. 1976) (per curiam). The

Government cannot now supply the facts that should have been alleged in the indictment. See

United States v. Thomas, 444 F.2d 919, 922 (D.C. Cir. 1971) (“the principal harm suffered by the


                                                19
                                                                      FEDERAL DEFENDER SERVICES
                                                                               OF WISCONSIN, INC.
        Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 20 of 22




[accused] because of the lack of precision in the indictment results from his inability to discern the

specific underlying offense, if any, that the grand jury had in mind when it returned the

indictment”). There is nothing to prevent the Government from switching theories again.

       C.      Even if the “civil disorder” is the Capitol breach generally, rather than the
               hallway encounter specifically, Count Seven must be dismissed.

       The defense reads the phrase “civil disorder” in Paragraph 112 to refer to the spotlighted

encounter between the “mob” and law enforcement in the hallway between the Rotunda and Senate

chamber, and the Government has not argued otherwise. However, the Court may read the

indictment to allege that the “civil disorder” was the Capitol breach, more broadly.

       But on that reading, the Court still should dismiss Count Seven. By relying on the

boilerplate phrase “civil disorder,” it is not clear what the grand jury understood the “civil disorder”

to be. It could have thought the Capitol breach, generally, was the “civil disorder”; or, it could

have thought the hallway confrontation, specifically, was the “civil disorder.” In the absence of

any essential facts tethered to that term, the indictment also leaves ambiguous the nature of the

charge against Mr. Beeks. In other words, the pleading and presentment issues just discussed

remain unchanged.

       D.      In the alternative, Count Seven should be dismissed in part.

       At a minimum, the defense submits that Count Seven must be dismissed at least in part. If

that Count states an offense, then the conclusion would be a narrow one: that the “civil disorder”

is the Capitol breach, generally, and that that breach negatively affected the “federally protected

function” of the U.S. Capitol police patrolling the building and grounds. The indictment still would

lack any allegations that the “civil disorder” impacted “commerce” or the “movement of any article

or commodity in commerce.” Thus, even under that alternate reading, Count Seven should be

dismissed insofar as it rests on that unsupported boilerplate.

                                                  20
                                                                         FEDERAL DEFENDER SERVICES
                                                                                  OF WISCONSIN, INC.
       Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 21 of 22




                                           CONCLUSION

       The Government’s response has not offered the Court a ground on which to deny Mr. Beeks

motion to dismiss Count Five or Count Seven. With respect to Count Five, the Government invites

the Court to transform the phrase “temporarily visiting” in § 1752 into a mere-presence

requirement or, in the alternative, maintain the Count despite the lack of fair notice. With respect

to Count Seven, the Government suggests that statutory boilerplate alone suffices to state a

violation of § 231(a)(3), even though guilt under that statute depends crucially on the facts

underpinning the purported “civil disorder.” And it offers no response to the presentment issues

that Mr. Beeks has raised. For these reasons, Counts Five and Seven should be dismissed.

       Dated at Madison, Wisconsin, this 15th day of April, 2022.

                                      Respectfully submitted,

                                      /s/ Jessica Arden Ettinger
                                      Jessica Arden Ettinger (D.D.C. Bar No. D00483)
                                      FEDERAL DEFENDER SERVICES
                                         OF WISCONSIN, INC.
                                      22 E. Mifflin Street, Suite 1000
                                      Madison, WI 53703
                                      Tel.: (608) 260 9900
                                      Email: jessica_ettinger@fd.org

                                      Joshua D. Uller (WI Bar No. 1055173)
                                      FEDERAL DEFENDER SERVICES
                                        OF WISCONSIN, INC.
                                      411 E. Milwaukee Avenue, Suite 2310
                                      Milwaukee, WI 53202
                                      Tel.: (414) 221-9900
                                      Email: joshua_uller@fd.org

                                      Counsel for James Beeks




                                                21
                                                                      FEDERAL DEFENDER SERVICES
                                                                               OF WISCONSIN, INC.
       Case 1:21-cr-00028-APM Document 652 Filed 04/15/22 Page 22 of 22




                               CERTIFICATE OF SERVICE

       On this 15th day of April, 2022, I filed the foregoing document electronically with the

Clerk of the Court for the United States District Court for the District of Columbia by using the

Court’s CM/ECF system, which will provide electronic service on all counsel of record.


                                            /s/ Jessica Arden Ettinger
                                            Jessica Arden Ettinger




                                                                    FEDERAL DEFENDER SERVICES
                                                                             OF WISCONSIN, INC.
